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     1   XINGFEI LUO
                                                                                         APR. 6, 2023

     2   PO BOX 4886,
     3   El Monte, CA 91734
     4

     5   Petitioner in Pro Se
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     8                              UNITED STATES DISTRICT COURT
     9                            CENTRAL DISTRICT OF CALIFORNIA
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    11   XINGFEI LUO,                                    No. 8:22-CV-01640-MEMF-KES
    12                       Petitioner,
    13          v.                                       REQUEST FOR JUDICIAL NOTICE
    14   THE PEOPLE OF THE STATE OF
    15   CALIFORNIA                                      Action filed: September 6, 2022

    16                       Respondent.

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    18          Xingfei Luo (Petitioner) respectfully presents this Request for Judicial Notice
    19   (RJN) under the authority in Federal Rule of Evidence Rule 201, which states:
    20          (a) Scope. This rule governs judicial notice of an adjudicative fact only, not a
    21   legislative fact.
    22          (b) Kinds of Facts That May Be Judicially Noticed. The court may judicially notice
    23   a fact that is not subject to reasonable dispute because it:
    24                  (1) is generally known within the trial court’s territorial jurisdiction; or
    25                  (2) can be accurately and readily determined from sources whose accuracy
    26          cannot reasonably be questioned.
    27          (c) Taking Notice. The court:
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     1                 (1) may take judicial notice on its own; or
     2                 (2) must take judicial notice if a party requests it and the court is supplied
     3          with the necessary information.
     4          Further, per Reyn’s Pasta Bella, LLC v. Visa USA, Inc. (9th Cir. 2006) 442 F.3d
     5   741, 746 fn.6, this court “may take judicial notice of court filings and other matters of
     6   public record.” See Burbank, Glendale-Pasadena Airport Auth. v. City of Burbank, (9th
     7   Cir. 1998)136 F. 3d 1360, 1364.
     8          Petitioner hereby requests that this Court take judicial notice of the following
     9   documents under Federal Rules of Evidence Rule 201:
    10          1.     Amended Complaint, dated on February 24, 2023, filed in Orange County
    11   Superior Court in Case No. 23CM00067, and is attached hereto as Exhibit 1. In the
    12   Amended Complaint, based on the theory of ongoing failure to remove references and
    13   photos of Tomas Czodor, Petitioner was charged for the exact same conduct as she was
    14   charged in Case No. 19CM06724. See Count 2 on ECF 3, p. 79.
    15          2.     Motion to dismiss, filed on March 14, 2023 in Orange County Superior
    16   Court in Case No. 23CM00067, and is attached hereto as Exhibit 2. A continuing offense
    17   is not terminated by a single act or circumstance, but instead endures for as long as the
    18   proscribed conduct continues. Wright v. Superior Court (1997) 15 Cal.4th 521, 525.
    19   "[O]rdinarily, a continuing offense is marked by a continuing duty in the defendant to do
    20   an act which he fails to do. The offense continues as long as the duty persists, and there is
    21   a failure to perform that duty. [Citations.] Thus, when the law imposes an affirmative
    22   obligation to act, the violation is complete at the first instance the elements are met. It is
    23   nevertheless not completed as long as the obligation remains unfulfilled. 'The crime
    24   achieves no finality until such time.' " Wright v. Superior Court (1997) 15 Cal.4th 521,
    25   525-526. A defendant violates a continuing offense only once, even if the proscribed
    26   conduct extends over an indefinite period. People v. Mason (2014) 232 Cal.App.4th
    27   355, 364-365. In Mason, the appellate court overturned three of the defendant's four
    28   convictions for possessing the same firearm on four different dates, months apart. Mason,

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     1   supra, 232 Cal.App.4th at pp. 366-367. A continuing offense constitutes a single violation
     2   and may not be arbitrarily divided into separate time intervals and charged as multiple
     3   violations. People v. Keehley (1987) 193 Cal.App.3d 1381, 1385 (Keehley); People v.
     4   Gregori (1983) 144 Cal.App.3d 353, 357. Determining whether a crime is a continuing
     5   offense is primarily a question of statutory interpretation. (Wright, supra, 15 Cal.4th at p.
     6   526.) It also is important to consider whether the nature of the crime is such that the
     7   Legislature " 'must assuredly have intended that it be treated as a continuing one.' " (Ibid.)
     8   Doubts should be resolved against a construction " 'subjecting an offender to multiple
     9   convictions by reason of a single unified pattern of behavior even though the behavior
    10   continues over a period of time.' " (Keehley, supra, 193 Cal.App.3d at p. 1385.) Section
    11   654, subdivision (a), provides that an act or omission that is punishable in different ways
    12   by different provisions of law may be punished under either of such provisions, but in no
    13   case shall the act or omission be punished under more than one provision. An acquittal or
    14   conviction and sentence under any one bars a prosecution for the same act or omission
    15   under any other. Section 654 therefore ' "precludes multiple punishment for a single act or
    16   for a course of conduct comprising indivisible acts. 'Whether a course of criminal conduct
    17   is divisible . . . depends on the intent and objective of the actor.' [Citations.] '[I]f all the
    18   offenses were merely incidental to, or were the means of accomplishing or facilitating one
    19   objective, defendant may be found to have harbored a single intent and therefore may be
    20   punished only once.' [Citation.]" [Citation.]' [Citations.] In People v. Lewis 77 Cal.App.3d
    21   455 (Cal. Ct. App. 1978), one continuous criminal act committed by defendant between
    22   1971 and 1976 was divided into four counts subjecting defendant to multiple convictions
    23   for the single offense of pimping. Although involving different factual situations, the
    24   concept that a defendant may not be subjected to multiple convictions for only one
    25   criminal act is articulated in People v. Lyons, 50 Cal.2d 245, 275 [324 P.2d 556]
    26   (possession of several articles stolen from separate victims, single offense); People v.
    27   Smith, 26 Cal.2d 854, 858-859 [ 161 P.2d 941] (simultaneous receipt of three articles of
    28   stolen goods, single offense); People v. Bowie, 72 Cal.App.3d 143, 156 [140 Cal.Rptr. 49]

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     1   (11 counts of possession of blank and unfinished checks, single offense); People v.
     2   Aresen, 91 Cal.App.2d 26, 37 [204 P.2d 389] (two counts of illegal sale of the same stock,
     3   single offense) and People v. Puppilo, 100 Cal.App. 559, 562 [280 P. 545] (unlawful
     4   possession of two pistols, one offense). Nevertheless, despite Petitioner’s prior conviction
     5   of the exact same conduct, the Orange County Superior Court blatantly violated
     6   Petitioner’s constitutional rights and forced her to go through a jury trial, relying on the
     7   exact same evidence in the Case No. 19CM06724.
     8            3.       Docket summary of Case No. 23CM00067, indicating that on March 28,
     9   2023 Petitioner was Found Not Guilty by Jury, attached hereto as Exhibit 3. In Case No.
    10   19CM06724, Juror 102, a delivery driver, requested to be excused due to financial
    11   hardship. ECF 4, p. 4. The trial court denied his request and defense counsel failed to
    12   object. In Case No. 23CM00067, each potential juror was asked if they would change
    13   their position due to pressure, such as when deliberating on Friday late afternoon close to
    14   weekend. In Case No. 19CM06724, the jury panel had little to no well-educated
    15   individuals. In Case No. 23CM00067, the jury panel had a civil attorney and an engineer
    16   graduated from MIT. In Case No. 19CM06724, no officer was called to testify. In Case
    17   No. 23CM00067, trial counsel effectively attacked the investigator for her poor police
    18   work, i.e. failure to provide metadata or IP address, and failure to interview Czodor’s
    19   wife. In Case No. 19CM06724, the complaining witness concealed his marital status and
    20   presented himself as a single innocent young man looking for a relationship through a
    21   dating app in 2018. ECF 4, pp. 29-109. In Case No. 23CM00067, trial counsel exposed
    22   the concealed marital status of the complaining witness and highlighted the fact that the
    23   complaining witness sent unsolicited nude photos to Petitioner. Despite the complaining
    24   witness testified that he was separated from his wife in 20181, he met no one else but
    25   Petitioner from the dating app and he sent no one else but Petitioner his nude photos, the
    26   jury did not buy his story.
    27   1
           Tomas Czodor’s testimony about being separated from his wife in 2018 is another perjury. Three years following
         2018, for each year he still filed taxes with his wife as a married couple. As of 2022, his wife still lived with him in
    28   the same home. His wife still co-owns their residence.


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     1          I declare under penalty of perjury under the laws of the State of California and
     2   United States of America that the foregoing is true and correct.
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     4          Respectfully submitted,
     5          Date: April 6, 2023
     6                                                           /s/ Xingfei Luo

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     1                                CERTIFICATE OF SERVICE
     2          I declare that I electronically filed the foregoing with the United States District
     3   Court, Central District of California. Participants in the case who are registered CM/ECF

     4   users will be served by the CM/ECF system.

     5          I declare under penalty of perjury under the laws of the State of California and

     6
         United States of America that the foregoing is true and correct.
                Executed on April 6, 2023
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                                                           /s/ XINGFEI LUO
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                                                           XINGFEI LUO, In Pro Per
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                                  EXHIBIT 1
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                               EXHIBIT 3
          Case 8:22-cv-01640-MEMF-KES Document 20 Filed 04/06/23 Page 33 of 33 Page ID
                                           #:1404
Case Summary
Case Number:                       23CM00067
OC Pay Number:                     11200090
Originating Court:                 Central
Pay or Appear by:
Traffic School Completion Date:
Next Payment Date:
Defendant:                         Luo, Xingfei
Demographics:
                                   Eyes:           Brown
                                   Hair:           Black
                                   Height(ft/in) : 5'5"
                                   Weight (lbs): 96
Names:
          Last Name First Name Middle Name    Type
          Luo       Xingfei                Real Name
          Lou       Xingfei                Alias
Case Status:
                Status:               Dismissed
                Case Stage:
                Release Status:       Released on Own Recognizance
                Warrant:              N
                DMV Hold :            N
                Charging Document:    Complaint
                Mandatory Appearance: Y
                Owner's Resp:         N
                Amendment #:          1
Counts:
                      Violation      Section                                                                                             Disposition
          Seq S/A                                 OL                Violation                Plea   Plea Date         Disposition
                        Date         Statute                                                                                                Date
                                                       Contempt of court - disobey court   NOT                   Found Not Guilty by
          1   0     04/20/2022    166(a)(4) PC    M                                                 02/10/2023                         03/28/2023
                                                       order                               GUILTY                Jury
Participants:
                        Role       Badge Agency            Name            Vacation Start Vacation End
                Alternate Defender       ALTD   Deputy Alternate Defender,
                District Attorney        OCDA Nguyen-McDonald, Daniel
                Alternate Defender       ALTD   Mikhail, Marian
                District Attorney        OCDA Gomez, Steven
                District Attorney        OCDA Voge, James
                District Attorney        OCDA Ellis, Therese
                Alternate Defender       ALTD   Follett, James
                District Attorney        OCDA Johnson, Alexis
                District Attorney        OCDA Zhan, MingMing
Heard Hearings:
                       Date         Hearing Type - Reason       Courtroom Hearing Status Special Hearing Result
                    02/07/2023 Motion Dismissal                 C47       Heard
                    02/07/2023 Motion Dismissal                 C48       Heard
                    02/08/2023 Motion Dismissal                 C48       Heard         Waives arraignment today
                    02/10/2023 Arraignment -                    C48       Heard
                    02/24/2023 Arraignment -                    C54       Cancel
                    03/03/2023 Pre Trial -                      C47       Cancel
                    03/03/2023 Pre Trial -                      C50       Heard         Time not waived
                    03/10/2023 Pre Trial -                      C47       Cancel
                    03/10/2023 Pre Trial -                      C51       Heard         waives statutory time for
                    03/16/2023 Jury Trial -                     C47       Heard
                    03/20/2023 Motion Dismiss [Penal Code 1385] C47       Cancel
                    03/20/2023 Jury Trial -                     C47       Heard
                    03/20/2023 Motion Dismiss [Penal Code 1385] C47       Heard
                    03/20/2023 Motion Dismiss [Penal Code 1385] C53       Heard
                    03/21/2023 Motion Dismissal                 C47       Cancel
                    03/21/2023 Jury Trial -                     C47       Heard
                    03/22/2023 Jury Trial -                     C47       Heard
                    03/22/2023 Jury Trial -                     C53       Heard         waives statutory time for
                    03/23/2023 Jury Trial -                     C53       Heard         waives statutory time for
                    03/24/2023 Jury Trial -                     C53       Heard         waives statutory time for
                    03/27/2023 Jury Trial -                     C53       Heard         waives statutory time for
                    03/28/2023 Jury Trial -                     C53       Heard
